                 Case 2:97-cr-81440-PJD ECF No. 211, PageID.262 Filed 05/28/09 Page 1 of 1
  ~AO 247 (02/08)      Order Regarding Motion for Sentence Reduction


                                               UNITED STATES DISTRICT COURT
                                                                            for the
                                                             EASTERN DISTRICT OF MICHIGAN

                          United States of America                            )
                                          v.                                  )
                      GEORGE BLAIR                                            ) Case No: 97-81440-1
                                                                              ) USMNo: 01065-190
 Date of Previous Judgment: ...:9...:./~2;;.;2:;.;/:...::9~8-:-:-       _     )   Jill L. Price
 (Use Date of Last Amended Judgment if Applicable)                            )   Defendant's Attorney

                         Order Regarding Motion for Sentence Reduction Pursuant to 18 U.S.C. § 3582(c)(2)

         Upon motion of [] the defendant                            D
                                                  the Director of the Bureau of Prisons                       D
                                                                                         the court under 18 U.S.C.
 § 3582(c)(2) for a reduction in the term of imprisonment imposed based on a guideline sentencing range that has
 subsequently been lowered and made retroactive by the United States Sentencing Commission pursuant to 28 U.S.C.
 § 994(u), and having considered such motion,
 IT IS ORDERED that the motion is:
        DDENIED. [I GRANTED and the defendant's previously imposed sentence of imprisonment (as reflected in
                     the last judgment issued) of 2 6 2      months is reduced to     2 1 0 ill 0 nth s
I. COURT DETERMINATION OF GUIDELINE RANGE (prior to Any Departures)
Previous Offense Level:     38                   Amended Offense Level:                                                      36
Criminal History Category:    II                 Criminal History Category:                                                  II
Previous Guideline Range:  26 2  to 3 2 7 months Amended Guideline Range:                                                  2 10   to ..1..Q.1... months
 II. SENTENCE RELATIVE TO AMENDED GUIDELINE RANGE
[i] The reduced sentence is within the amended guideline range.
D   The previous term of imprisonment imposed was less than the guideline range applicable to the defendant at the time
    of sentencing as a result of a departure or Rule 35 reduction, and the reduced sentence is comparably less than the
    amended guideline range.
D   Other (explain):




III. ADDITIONAL COMMENTS




Except as provided above, all provisions of the judgment dated 9 / 2 2 /98                          shall remain in effect.
IT IS SO ORDERED.

Order Date:         May 28,             2009                                           s/Patrick J. Duggan
                                                                                           -   ..          Judge's !!.i.@ature
                                                                                         PATRICK J. DUGGAN
Effective Date: _~~                                      _                            U.S. DISTRICT COURT JUDGE
                        (if different from order date)                                                   Printed name and title
